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                 IN THE UNITED STATES DISTRICT COURT
                                                                            FILED
                     FOR THE DISTRICT OF MONTANA                            OCT 13 2017
                          MISSOULA DIVISION                            Cle~. U.s n;.....,~
                                                                         D1Sfrict of~      Court
                                                                              Missauia      a


LAWRENCE BIGGS, an individual,                      CV 16-146-M-DLC
VERLIE BRECHEL, an individual,
TOM VANEK, an individual, and
GENE FRIGON, an individual,                                ORDER
                     Plaintiffs,

        vs.

 CONSENSUS ORTHOPEDICS INC., a
 corporation, and JOHN DOES 1-10,

                     Defendants.

      Pursuant to the Parties' Joint Stipulation for Dismissal (Doc. 24),

      IT IS ORDERED that this action is DISMISSED WITH PREJUDICE, the

parties to bear their own costs and attorneys' fees. All deadlines are VACATED

and any pending motions are DENIED as moot. The bench trial set for May 14,

2018, is VACATED.

                     "'
      Dated this l}_ day of October, 20

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                                      Dana L. Christensen, Chief Judge
                                      United States District Court
